          Case 1:15-cv-06119-AJN-JLC Document 383-7 Filed 06/19/17 Page 1 of 2



CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK: HOUSING PART F
                                                         X
MARINER'S COVE SITE B ASSOCIATES,
                                  Petitioner-Landlord
                                                                   DECISION &ORDER

          -against-                                                Index No.: L&T 63974/14/16

                                                                   HON.SABRINA B. K~AUS
DR. STEVEN GREER
200 RECTOR PLACE, Apt. 35F
New York, New York 10280
                                  Respondent-Tenant X

          Petitioner's motion (seq no 12)is granted to the following extent:

          Purasuant to CPLR 2606, The commissioner of Finance is directed to release and pay to

Petitioner Mariners Cove Site B associates $44,135.00 currently being held on deposit, plus

accrued interest less lawful fees, and mail said fnds to Mariners Cove Site B Associates c/o

Rosenberg & Estis PC,733 Third Avenue, New York, New York 10017, attn Deborah Riegel,

Esq.

          Petitioner is the prevailing party in this litigation and the underlying lease provides for

attorneys' fees. The ratter is set down for a nearing to determine the reasonable amount of

attorneys' fees to be awarded to Petitioner. The hearing shall be Novemberl7th, 2016, at 2 pm in

Part F.

          This constitutes the decision and order of this court.


Dated: October 24, 2016
New York, NY


                                                         Hon. Sabrina B. Kraus, J.H.C.




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Civil Court of theCase
County of New York
                          1:15-cv-06119-AJN-JLC
                    City of

Part: Part F, Room: 830
                            New York
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                                                             Document 383-7 Filed 06/19/17 Page 2 of 2

                                                                                     Index #: LT-063974-14/NY
Dare;: October 24, 2016                                                              Motion Seq #: 13

                                                           Decision/Order

MARINERS COVE SITE B ASSOCIATES                                                      Present: Sabrina Kraus
            Petitioners)                                                                         Judge
   -agamst-
DR.STEVEN GREER
            Respondents)


Recitation, as required by CPLR 2219(A), of the papers considered in the review of this OSC for:
Dismiss

                                          PAPERS                            NUMBERED

                      Notice of Motion and Affidavits Annexed
                      Order to Show Cause and Affidavits Annexed
                      Answering Affidavits
                      Replying Affidavits
                      Exhibits
                      Stipulations
                      Other



Upon the foregoing cited papers, the Decision/Order in this Motion is as follows:
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Date:

                                                                                                       Civil/Housing Court
Generated: October 17, 2016




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